                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

JOE HAND PROMOTIONS, INC.                             )
     Plaintiff,                                       )
                                                      )
v.                                                    )           CIVIL ACTION NO. 14-348-KD-C
                                                      )
EULA SHEFFIELD NEAL,                                  )
CHRISTOPHER SHERMAN                                   )
WAR BAMA BY CHRIS, L.L.C.,                            )
d/b/a WAR BAMA                                        )
       Defendants.                                    )

                                                  ORDER

        This matter is before the Court on Plaintiff’s Partial Motion for Summary Judgment

(Doc. 29), and the Defendants’1 Response (Docs. 35-36). Upon due consideration of the parties’

briefs and evidentiary submissions, Plaintiff’s motion as to Defendant War Bama By Chris LLC

d/b/a War Bama’s liability on Count One is GRANTED. Plaintiff’s motion as to Defendant Eula

Sheffield Neal’s liability on Count One is DENIED. The issue of damages is CARRIED TO

TRIAL.

        I.      Background

        Plaintiff Joe Hand Promotions, Inc. (“Joe Hand”) is a Pennsylvania corporation engaged

in the closed circuit distribution “of sports and entertainment programming.” distributes sports

and entertainment programming to commercial establishments.” (Docs. 1 at 6 and 29-3 at 2).

“[Joe Hand] purchased and retained the commercial exhibition rights to the ‘UFC 148: Silva v.

Sonnen II’ broadcast including all undercard bouts and the main prizefight, broadcasted on July

7, 2012.” (Docs. 29-3 at ¶3, 29-4). This Court has subject matter jurisdiction under 28 U.S.C.

§1331 (federal question), as this action was brought pursuant to 47 U.S.C. §§ 553, 605.

1
 “Defendants” refers to Eula Sheffield Neal and War Bama by Chris LLC d/b/a War Bama. Plaintiff did not move
for summary judgment against Defendant Christopher Sherman.


	  
         On July 24, 2014, Plaintiff Joe Hand commenced this action by filing suit against War

Bama by Chris d/b/a War Bama LLC (“War Bama”), Eula Sheffield Neal (“Neal”), and

Christopher Sherman (“Sherman”) alleging violations of 47 U.S.C. §§553, 605, based on the

unauthorized broadcast of UFC 148 at the War Bama. (Doc. 1). War Bama is an establishment

located in Silas, Alabama. (Doc. 36 at 1). Neal and Sherman are the only members of War Bama,

with Neal owning 60% and Sherman owning 40%. (Id.).2

         Neal and War Bama answered the complaint on November 3, 2014. (Doc. 19). On April

30, 2015, Joe Hand timely filed its motion for partial summary judgment. (Doc. 29). Though not

styled as such, Joe Hand’s motion is partial due to the fact that it has not been brought against all

defendants in this matter. 	  

         On October 6, 2014, Joe Hand made an application for entry of default against Sherman

and on October 8, 2014, the Clerk entered a default against Sherman. (Docs. 14,15). Plaintiff has

not filed a motion for entry of default judgment.3 Defendants Neal and War Bama responded to

Joe Hand’s motion for partial summary judgment on June 2, 2015 and the matter is ripe for

consideration. (Docs. 35-36).




2
  The record specifies Sherman’s percentage of interest but does indicate that Neal and Sheffield were the only
members of the LLC. The Court concludes Neal owned a 60% interest.
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  The Federal Rules of Civil Procedure establish a two-part process for obtaining a default judgment. Fed.R.Civ.P.
55. If “a party against whom a judgment for affirmative relief is sought has failed to plead or otherwise defend, and
that failure is shown by affidavit or otherwise, the clerk must enter the party’s default.” Fed.R.Civ.P. 55(a). After
default has been entered, if the “claim is for a sum certain or a sum that can be made certain by computation” the
clerk must enter default judgment. Fed.R.Civ.P. 55(b)(1). In all other circumstances, such as here, “the party must
apply to the court for a default judgment.” Fed.R.Civ.P. 55(b)(2). It appears to the Court that the parties are under
the impression that default judgment has been entered against Sherman. A clerk’s entry of default and a default
judgment are not the same thing. Joe Hand filed for summary judgment against Defendants War Bama Neal, but not
against Sherman. (Doc. 29). In opposition to the motion for summary judgment, Defendants Neal and War Bama
state, “[The Plaintiff] has moved for a default judgment against Sherman. Sherman’s failure to answer results in an
admission that ‘Sherman knowingly and willfully intercepted the programming and offered it to patrons of the
establishment for private financial gain or commercial advantage.’ The default also confirms that the exhibition of
the program by Sherman was “willful for purposes of direct or indirect commercial advantage or private financial
gain and with the intent (sic) willfully defraud [the Plaintiff] of revenue.’” (Doc. 36 at 4).


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         II.      Findings of Fact4

         As noted by the Defendants, “The UFC event was [] broadcast at the War Bama Club in

Silas, Alabama. The UFC event was not authorized for broadcast at the War Bama.” (Doc. 36 at

1). UFC 148 was obtained via a residential satellite account registered to Neal at her home

address, which was in use at the War Bama. (Docs. 29-7 at 7-8 and 36-1 at 2).

         On July 7, 2012, auditor Walter Childress went to the War Bama while UFC 148 was

being broadcast. (Doc. 29-5). As evidenced by Childress’ affidavit, UFC 148 was displayed via a

projector screen and a television at the establishment. (Doc. 29-5). Childress paid a $10.00 cover

charge to enter the War Bama. (Id. at 2). While there, Childress took three head counts of patrons

present during the exhibition of UFC 148. The first, second, and third head counts were 6, 32,

and 40, respectively. (Id.).

         III.     Standard of Review

         “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” FED.

R. CIV. P. 56(a). Rule 56(c) provides as follows:

         (1) Supporting Factual Positions. A party asserting that a fact cannot be or is
         genuinely disputed must support the assertion by:

                (A) citing to particular parts of materials in the record, including
         depositions, documents, electronically stored information, affidavits or
         declarations, stipulations (including those made for purposes of the motion only),
         admissions, interrogatory answers, or other materials; or

                (B) showing that the materials cited do not establish the absence or
         presence of a genuine dispute, or that an adverse party cannot produce admissible
         evidence to support the fact.


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  At the summary judgment stage, the facts are taken in the light most favorable to the non-movant. Tipton v.
Bergrohr GMBH–Siegen, 965 F.2d 994, 998–999 (11th Cir. 1992). The “facts, as accepted at the summary
judgment stage of the proceedings, may not be the actual facts of the case.” Priester v. City of Riviera Beach, 208
F.3d 919, 925 n. 3 (11th Cir. 2000).


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       (2) Objection That a Fact Is Not Supported by Admissible Evidence. A party
       may object that the material cited to support or dispute a fact cannot be presented
       in a form that would be admissible in evidence.

       (3) Materials Not Cited. The court need consider only the cited materials, but it
       may consider other materials in the record.

       (4) Affidavits or Declarations. An affidavit or declaration used to support or
       oppose a motion must be made on personal knowledge, set out facts that would be
       admissible in evidence, and show that the affiant or declarant is competent to
       testify on the matters stated.

FED.R.CIV.P. Rule 56(c). The party seeking summary judgment bears the “initial responsibility

of informing the district court of the basis for its motion, and identifying those portions of ‘the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any,’ which it believes demonstrate the absence of a genuine issue of material fact.”

Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991) (quoting Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986)). If the nonmoving party fails to make “a sufficient showing

on an essential element of her case with respect to which she has the burden of proof,” the

moving party is entitled to summary judgment. Celotex, 477 U.S. at 323. “In reviewing whether

the nonmoving party has met its burden, the court must stop short of weighing the evidence and

making credibility determinations of the truth of the matter … the evidence of the non-movant is

to be believed, and all justifiable inferences are to be drawn in his favor.” Tipton v. Bergrohr

GMBH-Siegen, 965 F.2d 994, 998-999 (11th Cir. 1992).

IV.    Analysis

       A.      Defendants’ Motion to Strike

       Defendants have moved to strike the affidavits of Joe Hand, Jr. and Walter Childress

(Docs. 29-3 and 29-5, respectively) based on “a lack of personal knowledge, facts, competence,

relevance and conclusory allegations and statements.” (Doc. 34 at 1). Joe Hand, Jr. is the




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president of the Plaintiff Joe Hand Promotions. (Doc. 29-3). The Court finds Mr. Hand is

competent to testify concerning about Joe Hand’s business given his position as its president.

Childress’ affidavit was based upon his personal visit to the War Bama on the date of UFC 148.

To the extent either affidavit contained any irrelevant information, conclusory allegations, or

inadmissible evidence, such was not considered by the Court. Thus, the motion to strike is

DENIED.

         B.       Liability Under 47 U.S.C. § 553

         Joe Hand brought suit against Neal individually, as well as the establishment itself for

exhibiting UFC 148 to War Bama patrons without Joe Hand’s authorization. Joe Hand seeks

relief under two different statutory provisions—47 U.S.C. § 605 (The Communications Act of

1934), or, alternatively, 47 U.S.C. § 553 (The Cable & Television Consumer Protection and

Competition Act of 1992).5 Section 605 of the Communications Act provides as follows:

         No person not being authorized by the sender shall intercept any radio
         communication and divulge or publish the existence, contents, substance, purport,
         effect, or meaning of such intercepted communication to any person. No person
         not being entitled thereto shall receive or assist in receiving any interstate or
         foreign communication by radio and use such communication (or any information
         therein contained) for his own benefit or for the benefit of another not entitled
         thereto. No person having received any intercepted radio communication or
         having become acquainted with the contents, substance, purport, effect, or
         meaning of such communication (or any part thereof) knowing that such
         communication was intercepted, shall divulge or publish the existence, contents,
         substance, purport, effect, or meaning of such communication (or any part
         thereof) or use such communication (or any information therein contained) for his
         own benefit or for the benefit of another not entitled thereto.

47 U.S.C. § 605(a). This section “prohibits the unauthorized third party reception of satellite

transmissions intended for fee-paying subscribers.” Showtime/The Movie Channel, Inc. v.

Covered Bridge Condo. Ass'n, 881 F.2d 983, 988 (11th Cir. 1989), vacated on other grounds by

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 Plaintiff can only recover under one statute. See, e.g., J & J Sports Prods., Inc. v. Blackwell, 2009 WL 2171897, at
*2 (M.D.Ala. July 21, 2009); J & J Sports Prods., Inc. v. Guzman, 2009 WL 1034218, at *2 (N.D.Cal. Apr.16,
2009).


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895 F.2d 711 (11th Cir. 1990). “Satellite signals are considered ‘radio communication.’” J & J

Sports Prod., Inc. v. Allen, 2011 WL 941502, *2 at n. 3 (N.D. Ga. Mar. 14, 2011).

           Section 553 provides that “[n]o person shall intercept or receive or assist in intercepting

or receiving any communications service offered over a cable system, unless specifically

authorized to do so by the cable operator or as may otherwise be specifically authorized by law.”

47 U.S.C. § 553(a)(1). As the Northern District of Georgia has recently explained:

           There is a split among the circuits as to what activity each section covers and how
           to reconcile potential overlap in the provisions.6 Some circuits have held that §
           605 applies to satellite transmissions and cable programming transmitted over a
           cable network. See Int'l Cablevision, Inc. v. Sykes, 75 F.3d 123 (2d Cir.1996)
           (holding that both § 605 and § 553 cover interception of cable programming
           transmitted over a cable network). Other circuits have held that only § 553 covers
           cable programming transmitted over a cable network. See TRK Cable Co. v.
           Cable City Corp., 267 F.3d 196 (3d Cir.2001) (“ § 605 encompasses the
           interception of satellite transmissions ‘to the extent reception or interception
           occurs prior or not in connection with, distribution of the service over a cable
           system,’ and no more. Once a satellite transmission reaches a cable system's wire
           distribution phase, it is subject to § 553 and is no longer within the purview of §
           605.”); United States v. Norris, 88 F.3d 462, 466 (7th Cir.1996) (affirming district
           court's finding that “where cable programming is broadcast through the air and
           then retransmitted by a local cable company over a cable network, § 605 should
           govern the interception of the satellite or radio transmission through the air, while
           § 553(a) should govern the interception of the retransmission over a cable
           network”). The Court is persuaded by the Third and Seventh Circuits'
           interpretation of § 605's plain language, and finds that § 605 prohibits commercial
           establishments from intercepting and broadcasting satellite programming, while §
           553 addresses interceptions that occur through a cable network. See Scientific–
           Atlanta, 1997 WL 33543688, at *14; CSC Holdings, Inc. v. Kimtron, Inc., 47
           F.Supp.2d 1361, 1364 (S.D.Fla.1999).

J & J Sports Prods., Inc. v. Indigo Bar & Lounge, Inc., 2014 WL 1347065, at *2 (N.D. Ga. Apr.

3, 2014).

           The Court finds this reasoning persuasive. A review of the Record indicates that the

Defendants received and broadcast the fight via satellite, not cable. Further, there is no evidence

whatsoever that cable was employed by the Defendants in obtaining the broadcast. Thus, the
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    The Eleventh Circuit has not addressed this issue.


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Defendants are liable under § 605 rather than § 553. Accordingly, Count Two, brought under §

553, is DISMISSED.7

         C.       Liability Under 47 U.S.C. § 605

         Liability under § 605 “does not require a knowing violation.” Kingvision Pay Per View,

Ltd. v. Williams, 1 F.Supp.2d 1481, 1484 (S.D.Ga.1998). To establish a violation of § 605, a

plaintiff “must establish that (1) the Defendants intercepted the program, (2) Defendants did not

pay for the right to receive the transmission, and (3) Defendants displayed the program to patrons

of their commercial establishment.” Zuffa, LLC v. Al–Shaikh, 2011 WL 1539878, at *4 (S.D.Ala.

Apr.21, 2011) (citing J & J Sports Prods., Inc. v. Just Fam, LLC, 2010 WL 2640078, at *2

(N.D.Ga. June 28, 2010)). Joe Hand has moved for summary judgment against both the

establishment, War Bama, and Eula Sheffield Neal, in her individual capacity.

                  1.       War Bama by Chris d/b/a War Bama

         In its response to Joe Hand’s motion for summary judgment, War Bama concedes the

violation of § 605. (“The UFC event was [] broadcast at the War Bama Club in Silas, Alabama.

The UFC event was not authorized for broadcast at the War Bama.” Doc. 36 at 1). Thus,

Defendant War Bama is liable for the unauthorized broadcast of the UFC fight. Accordingly, Joe

Hand’s motion for summary judgment as to War Bama’s liability on Count One, brought under

47 U.S.C. §605, is GRANTED.

                  2.       Eula Sheffield Neal

         In order to hold Neal vicariously liable in her individual capacity and as officer, director,

shareholder and/or principal of the War Bama under § 605, Joe Hand must show that Neal had a

“right and ability to supervise the violations, and that [s]he had a strong financial interest in such


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 In its motion for summary judgment, the Joe Hand notes, “Plaintiff pled this matter in the alternative. After
discovery, Plaintiff moves solely under Title 47 U.S.C. § 605.” (Doc. 29-2 at 1, n.1).


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activities.” J & J Sports Prods., Inc. v. Arboleda, 2009 WL 3490859, at *5 (M.D. Fla. Oct. 27,

2009). Though Neal is a member of the War Bama LLC, she states,

       I was not responsible for nor was I informed or had knowledge of the day to day
       operations of War Bama. These responsibilities included employee management,
       promotional events, advertising, daily banking, management of the facility,
       customer relations and creation and enforcement of the rules and regulations
       governing the facility…These responsibilities were performed by Chris Sherman.

(Doc. 36-1 at 1, Aff. Neal). With regard to the events of July 7, 2012 Neal states:

       On July 7, 2012, I was not at the facility. I had not been at the facility for several
       months. I was not consulted for advised by Chris Sherman that any UFC event
       was advertised or that such event would be shown at the facility. I rented the
       satellite equipment for Dish Network for my residence. I was approached by
       Chris Sherman and asked if the equipment could be placed at the War Bama. I
       was told by Chris Sherman that due to the lack of cable, only a satellite system
       could be used to provide receptions for the events being shown on basic satellite.
       Based on those representations, I allowed Chris Sherman to move the equipment
       to the facility. I had no knowledge the system would be used on a manner
       different than what I agreed. I have reviewed the banking information for War
       Bama and have determined that I nor War Bama received no financial gain or
       benefit form the UFC event. Chris Sherman purchased the event using my
       account with Dish Network without my permission or knowledge. I discovered
       the purchase during the course of providing discovery in this case.

       The Court finds that genuine issues of fact exist as to the nature and extent of Neal’s

control over the establishment and its activities are in dispute. Thus, Neal’s vicarious liability for

the violation of § 605 cannot be determined on summary judgment. See Zuffa, LLC v. Taapken,

2012 WL 3980169, at *2 (M.D. Ala. Sept. 11, 2012) (denying summary judgment on similar

grounds). Accordingly, Joe Hand’s motion for summary judgment as to Eula Sheffield Neal is

DENIED.

       D.      Damages Under 47 U.S.C. § 605

       Under § 605, a court may grant injunctive relief, award damages, and direct the recovery

of full costs, including reasonable attorney's fees. 47 U.S.C. § 605(e)(3)(B). An aggrieved party




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may then elect to recover actual or statutory damages. 47 U.S.C. § 605(e)(3)(C).8 The statute

authorizes damages for “each violation of subsection (a) of this section ... in a sum of not less

than $1,000 or more than $10,000, as the court considers just.” 47 U.S.C. § 605(e)(3)(C)(i)(II). If

the violation was committed “willfully and for the purpose of commercial advantage or private

financial gain,” the court may award up to $100,000 in enhanced damages. 47 U.S.C. §

605(e)(3)(C)(ii). The statute further provides, “In any case where the court finds that the violator

was not aware and had no reason to believe that his acts constituted a violation of this section,

the court in its discretion may reduce the award of damages to a sum of not less than $250.” 47

U.S.C. § 605(e)(3)(C)(iii). Joe Hand seeks both statutory damages and enhanced damages

against both defendants. As there are issues of fact surrounding the circumstances related to the

Defendants’ broadcast of UFC 148, the issue of damages is CARRIED TO TRIAL.




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    Section 605(e)(3)(C)(i)-(iii) provides:

           (C)(i) Damages awarded by any court under this section shall be computed, at the election of the
           aggrieved party, in accordance with either of the following subclauses;

           (I) the party aggrieved may recover the actual damages suffered by him as a result of the violation
           and any profits of the violator that are attributable to the violation which are not taken into account
           in computing the actual damages; in determining the violator's profits, the party aggrieved shall be
           required to prove only the violator's gross revenue, and the violator shall be required to prove his
           deductible expenses and the elements of profit attributable to factors other than the violation; or

           (II) the party aggrieved may recover an award of statutory damages for each violation of
           subsection (a) of this section involved in the action in a sum of not less than $1,000 or more than
           $10,000, as the court considers just, and for each violation of paragraph (4) of this subsection
           involved in the action an aggrieved party may recover statutory damages in a sum not less than
           $10,000, or more than $100,000, as the court considers just.

                     (ii) In any case in which the court finds that the violation was committed willfully and for
                     purposes of direct or indirect commercial advantage or private financial gain, the court in
                     its discretion may increase the award of damages, whether actual or statutory, by an
                     amount of not more than $100,000 for each violation of subsection (a) of this section.

                     (iii) In any case where the court finds that the violator was not aware and had no reason
                     to believe that his acts constituted a violation of this section, the court in its discretion
                     may reduce the award of damages to a sum of not less than $250.


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V.    Conclusion

      As discussed herein, Defendants’ motion to strike (Doc. 34) is DENIED. Plaintiff’s

motion for summary judgment as to War Bama’s liability on Count One, brought under 47

U.S.C. § 605, is GRANTED. (Doc. 29). Plaintiff’s motion for summary judgment as to Neal’s

liability on Count One, brought under 47 U.S.C. § 605, is DENIED. (Doc. 29). The issue of

damages is CARRIED TO TRIAL. Count Two, brought under 47 U.S.C. § 553 is

DISMISSED.

      DONE and ORDERED this 2nd day of July 2015.

                                         /s/ Kristi K. DuBose
                                         KRISTI K. DuBOSE
                                         UNITED STATES DISTRICT JUDGE




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